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 6                       IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8
 9   Juan Munoz,                             )       No. CV-11-2204-PHX-GMS
                                             )
10             Plaintiff,                    )
                                             )       ORDER
11   vs.                                     )
                                             )
12   The Jacoby Law Firm, P.C. d/b/a Lukehart)
     & Associates, P.C.,                     )
13                                           )
               Defendant.                    )
14                                           )
15          The Court has been advised that this case has settled (Doc. 5).
16          IT IS ORDERED that this matter will, without further Order of this Court, be
17   dismissed with prejudice within 60 days of the date of this Order unless a stipulation to
18   dismiss is filed prior to the dismissal date.
19          IT IS FURTHER ORDERED directing the Clerk of the Court to terminate this
20   matter on March 6, 2012 without further leave of Court.
21          DATED this 6th day of January, 2012.
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